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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-cv-1710-KMT

ROGER HILL,

       Plaintiff,

v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO,

       Defendants.


                    THE STATE OF COLORADO’S MOTION TO DISMISS
                          THE FIRST AMENDED COMPLAINT


       This unprecedented lawsuit attempts to transform a private disagreement over fishing

access into an adjudication of Colorado’s sovereign rights. To gain wading access to one

particular stretch of the Arkansas River, Plaintiff Hill asks the Court to declare that the Arkansas

was “navigable” at the time of Colorado’s founding. Under Plaintiff’s theory, this would mean

that portions of the riverbed currently under private ownership must be taken from their owners

and declared “public land owned by the state of Colorado.” ECF No. 13, First Amended Compl.

¶¶ 16–21 (filed July 17, 2018) (“First Am. Compl.”). If credited, Plaintiff’s never-before-

litigated legal theory will invalidate private property rights that were established near or before

the year 1876, raising a host of serious legal concerns for the State—not the least of which is

whether the State now owes compensation for the taking of land long held by private property

owners along a 280-mile stretch of river.




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         Plaintiff, however, lacks both constitutional and prudential standing to litigate his

asserted claims. As for constitutional standing, because only the Colorado Attorney General is

authorized to represent the sovereign interests of the State, COLO. REV. STAT. § 24-31-101,

Plaintiff has no legally enforceable interest in the alleged property rights he seeks to establish in

the State’s name. Plaintiff therefore lacks standing under Article III of the United States

Constitution. Separately, under the prudential doctrine of third-party standing, one party cannot

enforce another party’s alleged property rights. This is particularly true when the other party is a

sovereign entity. Plaintiff here is acting as a third-party interloper, raising claims that properly

belong to the sovereign State of Colorado. Thus, under Wilderness Society v. Kane County, 632

F.3d 1162 (10th Cir. 2011) (en banc)—on-point, binding precedent from the Tenth Circuit—this

case must be dismissed.

         Separately, Plaintiff’s complaint implicates significant sovereign interests that only the

State has authority to bring into litigation. Colorado, however, has not consented to this lawsuit

and Congress has not abrogated Colorado’s sovereign immunity. This lawsuit is therefore barred

in both this Court and any state court presented with a similar claim.

         Finally, this case is defective for one final, independent reason: Plaintiff has failed to

state a claim upon which relief can be granted. Under black-letter law, a person who fails to

assert his or her own property rights cannot sue to quiet another party’s title.

         For these three independent reasons, the State moves to dismiss Plaintiff’s claims under

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). 1


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       This motion is not subject to the conferral requirement of D.C.COLO.L.Civ.R. 7.1.




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                             FACTUAL AND PROCEDURAL HISTORY

I.     The Arkansas River in Colorado

       The Arkansas River has its headwaters in the Rocky Mountains near Leadville, Colorado.

Kansas v. Colorado, 514 U.S. 673, 675–76 (1995). From there, it flows southeast through Cañon

City and the City of Pueblo until it crosses the Colorado–Kansas border. Id. Approximately 280

miles of the river reside in Colorado. Kansas v. Colorado, 533 U.S. 1, 4 (2001). Since before

Colorado became a State in 1876, private landowners, including farmers and ranchers, have

owned land abutting or surrounding the river. See Hanlon v. Hobson, 51 P. 433, 435 (Colo.

1897) (explaining that the United States government had authority to convey to private parties

“legal title to the bed of a nonnavigable stream” as well as “the lands bordering thereupon”). The

title held by these private landowners has always included the riverbed itself. E.g. id.; see also

First Am. Compl. ¶ 12 (acknowledging that Defendant Warsewa’s property rights trace to a

federal patent).

       Through the efforts of the State of Colorado and its federal partners, public fishing access

is plentiful on the Arkansas. From the river’s headwaters to the City of Pueblo—a stretch of

water that includes 102 miles of “Gold Medal” trout fishing—approximately 70% of land along

the river is open to public fishing access. See Colo. Parks & Wildlife, Upper Ark. River Fish

Survey and Mgmt. Data, p.1, available at https://bit.ly/2LUilP4. The Arkansas Headwaters

Recreation Area—which covers 152 miles of the river—is collaboratively managed by Colorado

Parks and Wildlife, the United States Bureau of Land Management, and the United States Forest

Service. U.S. Dep’t of Interior, Colo. Parks & Wildlife, and U.S. Forest Serv., Ark. Headwaters

Recreation Area Draft Mgmt. Plan & Envt’l Assessment, p. 1-1 (Oct. 2017), available at



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https://bit.ly/2vanyss. Those state and federal partners have worked together to increase fishing

access, delineate private land boundaries, and increase public education regarding public access

to the river. One major purpose of those efforts is to reduce the potential for conflicts like this

one. E.g., id., p. 1-22 (explaining that a goal of the recreation area is to “[k]eep impacts of

recreation use and conflicts between recreationists, other land users and public and private

landowners in a manner consistent with existing policies and laws”).

II.    Procedural History

       The private fishing-access dispute between Plaintiff Hill and Individual Defendants

Warsewa and Joseph allegedly began six years ago and came to a climax when Defendant

Warsewa pleaded guilty to criminal menacing for attempting to exclude fishermen from his

property. First Am. Compl. ¶¶ 16–48. The State takes no position on the allegations that gave

rise to the private fishing-access dispute. The State’s policy is to encourage cooperation between

landowners and recreational fishermen.

       This case is the third iteration of Plaintiff’s attempt to use the doctrine of navigability to

obtain fishing access to portions of the Arkansas River by disrupting property rights that have

been settled for over a century. In February of this year, Plaintiff filed his first complaint against

Defendants Warsewa and Joseph in federal court, in case number 18-cv-277, seeking a

declaration that the bed of the Arkansas River is “property of the state of Colorado, held by the

state of Colorado in trust for the people of Colorado.” ECF No. 1, Compl. ¶ 63, No. 18-cv-277-

PAB-KLM (filed February 2, 2018). That complaint did not name the State, and several months

passed with no case activity. The State of Colorado, concerned with the legal ramifications of a

default judgment based on Plaintiff’s “navigability” theory, filed motions to intervene and to



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dismiss. ECF No. 17, Mot. to Intervene, No. 18-cv-277-PAB-KLM (filed May 7, 2018). In

response, Plaintiff voluntarily dismissed the suit. ECF No. 23, Notice of Voluntary Dismissal,

No. 18-cv-277-PAB-KLM (filed May 29, 2018).

       Six weeks later, Plaintiff tried again in state district court. See ECF No. 4, Compl. (filed

July 6, 2018). In the state court suit, Colorado was named not as a defendant but as an “interested

party.” Id. In response to the state court complaint, Defendants Warsewa and Joseph removed the

case to this Court. ECF No. 1, Notice of Removal (filed July 6, 2018).

       Plaintiff has now filed a First Amended Complaint in this Court. ECF No. 8, Amended

Compl. (filed July 12, 2018). In the First Amended Complaint, Plaintiff for the first time named

the State of Colorado as a party defendant. Defendants Warsewa and Joseph have moved to

dismiss the First Amended Complaint. ECF No. 21, Defendants Warsewa’s and Joseph’s Motion

to Dismiss (filed July 26, 2018). The State now files this motion to dismiss.

                                STANDARDS FOR DISMISSAL
                            UNDER RULES 12(b)(1) AND 12(b)(6)

       Federal Rule of Civil Procedure 12(b)(1) allows a court to dismiss a case for lack of

subject matter jurisdiction. Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 877 (10th Cir.

2017). Under Rule 12(b)(1), the allegations in the First Amended Complaint must be taken as

true. Plaintiff, however, bears the burden of establishing jurisdiction. If he cannot do so, the

Court must dismiss the case. Id.

       Under Rule 12(b)(6), the Court analyzes the legal sufficiency of the complaint to

determine whether it sets forth claims upon which relief may be granted. Again, under Rule

12(b)(6), the allegations of the First Amended Complaint are taken as true. But this Court does




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not assume the validity of legal conclusions in the First Amended Complaint. Safe Streets, 859

F.3d at 878. If the Complaint is based on defective theories of law, it must be dismissed. See id.

                                               ARGUMENT

I.     Plaintiff lacks constitutional and prudential standing to litigate title between the
       State and a third-party private landowner.

       A.      Plaintiff lacks a legally protected interest in the State’s property interests
               under Article III of the United States Constitution.

       Standing under Article III of the United States Constitution requires, among other things,

that a plaintiff demonstrate an injury to a “legally protected interest.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560–61 (1992). If a plaintiff fails to establish this element, the federal

courts lack jurisdiction. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 109–10 (1998).

       Under established case law, interested members of the public have no legally protected

interest in the government’s perceived property rights, even if they might derive some benefit

from public lands. See Sw. Four Wheel Drive Ass’n v. Bureau of Land Mgmt., 363 F.3d 1069

(10th Cir. 2004) (holding that off-road vehicle enthusiasts, as members of public, do not have

title in public roads and cannot assert counties’ putative rights-of-way against the federal

government); Kinscherff v. United States, 586 F.2d 159, 160 (10th Cir. 1978) (explaining that

members of the public do not have “title” in public roads and cannot maintain an action to quiet

title in them, despite their use and enjoyment of them).

       Indeed, unless a statute provides otherwise, the Attorney General has exclusive authority

to represent the State’s interests in court. Mtn. States Legal Found. v. Costle, 630 F.2d 754, 771

(10th Cir. 1980) (citing State Bd. of Pharmacy v. Hallett, 296 P. 540 (Colo. 1937)). Colorado law

provides that the Attorney General is to appear “for the state” in all legal actions in which the



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State “is a party or interested.” COLO. REV. STAT. § 24-31-101(1)(a). Therefore, an action by a

member of the public to quiet title in public lands must be dismissed. See Kinscherff, 586 F.2d at

160; see also Mtn. States, 630 F.2d at 771 (holding that a member of the public lacks standing to

raise claims on behalf of the State); Brotman v. E. Lake Creek Ranch, L.L.P., 31 P.3d 886, 895

(Colo. 2001) (concluding that a private ranch “does not have standing as an adjacent landowner,

as a taxpayer, or as a beneficiary of the school lands trust” to enjoin transfer of title in lands from

the State School Land Board to another private citizen).

        Plaintiff asks the Court to declare the bed of the Arkansas River “public land owned by

the state of Colorado in trust for public.” E.g., First Amended Compl. ¶¶ 13, 73. Yet the

authority to enforce the State’s interests in that land, if any, is reserved exclusively to the

Attorney General. COLO. REV. STAT. § 24-31-101(1)(a); Mtn. States, 630 F.2d at 771. Even

Plaintiff himself admits that he has no independent right of his own in the bed of the Arkansas

River; he concedes that the alleged property rights at issue belong to the State. See, e.g., id. ¶ 69

(“[T]he state of Colorado holds title to the subject real property.” (emphasis added)). Therefore,

this case must be dismissed for lack of constitutional standing under Rule 12(b)(1).

        B.      Under the third-party standing doctrine, Plaintiff is prohibited from
                litigating the putative title rights of the State.

        Under the prudential doctrine of third-party standing, a plaintiff must assert his own legal

rights and interests and cannot rest his claim to relief on the legal rights or interests of third

parties. Warth v. Seldin, 422 U.S. 490, 499 (1975). 2 This rule prohibits a member of the public


    2
     It is not clear whether the third-party standing doctrine should be classified as constitutional
or prudential. Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1387, n.3
(2014). Regardless, both constitutional and prudential standing may be the basis for dismissal
                                                        (footnote continued on following page)

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from asserting the property rights of the government. See Wilderness Soc’y v. Kane Cty., 632

F.3d 1162, 1172 (10th Cir. 2011) (en banc) (holding that the Wilderness Society lacked

prudential standing to enforce the federal government’s property rights in lands over which a

county claimed rights-of-way). Even where a dispute might otherwise exist between the

government and another landowner, members of the public generally—even those who might

use the land—lack any independent rights of their own sufficient to demonstrate standing. See id.

at 1171. (“TWS has taken sides in what is essentially a property dispute between two landowners

…. But TWS lacks any independent property rights of its own.”); see also VR Acquisitions, LLC

v. Wasatch Cnty., 853 F.3d 1142, 1146 (10th Cir. 2017) (dismissing a complaint under the third-

party doctrine because the property owner lacked prudential standing to challenge a lien assessed

against a previous owner).

       Here, Plaintiff, despite his general interest in fishing access, is without prudential

standing to enforce the perceived property rights of the State. Plaintiff is in precisely the same

situation as was the Wilderness Society in Kane County. The district court’s analogy in that case

applies equally here:

       Imagine that my next-door neighbor, who keeps his property neat and tidy, is
       faced with a competing claimant to the land, who is likely to allow the property to

under Rule 12 at the pleading stage. See VR Acquisitions, LLC v. Wasatch Cnty., 853 F.3d 1142,
1146 & n.3 (10th Cir. 2017) (classifying third-party standing as prudential, but explaining that
the court could dismiss for either prudential or constitutional standing). And because this motion
to dismiss is brought under both Rule 12(b)(1) and Rule 12(b)(6), the distinction between
constitutional and prudential standing is irrelevant. See id. at 1147 n.4 (dismissing for lack of
prudential standing while acknowledging that it is unclear whether Rule 12(b)(1) or
Rule 12(b)(6) is the appropriate vehicle); see also FED. R. CIV. P. 12(g)(1) (explaining that a
“motion under this rule,” e.g., a Rule 12(b)(1) motion, may be joined with any other motion
allowed by this rule,” e.g., a Rule 12(b)(6) motion).




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          fill with weeds. I might very much hope my neighbor wins. My property values
          and aesthetic interests could seriously be affected. I may be impatient with my
          neighbor’s inclination toward compromise and apparent disinclination to go to
          court. But no one would say I have standing to sue in defense of my neighbor’s
          property rights. The Wilderness Society is in precisely that situation.

Kane Cty., 632 F.3d at 1171 (quoting Wilderness Soc’y v. Kane Cty., 581 F.3d 1198, 1232 (10th

Cir. 2009) (McConnell, J., dissenting)).

          Plaintiff lacks an independent property right of his own and seeks to assert the perceived

property rights of the State. Under binding precedent, however, the State alone has authority to

determine whether to litigate its putative or alleged property rights. For over 140 years, the State

has declined to pursue litigation and has instead collaborated with federal agencies and private

landowners to create public access on the Arkansas River. Because Plaintiff lacks an independent

property right of his own, he lacks prudential standing to litigate the State’s perceived rights in

lands underlying the Arkansas.

II.       Sovereign immunity bars this lawsuit in both federal and state court.

          A.     The Eleventh Amendment applies here because Plaintiff seeks to litigate the
                 State’s sovereign interests in lands.

          The Eleventh Amendment prohibits federal lawsuits by private citizens against non-

consenting States. Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 304 (1990). 3 It is “a

bar to the exercise of federal subject matter jurisdiction.” Fent v. Okla. Water Res. Bd., 235 F.3d

553, 559 (10th Cir. 2000) (emphasis omitted). Accordingly, it forbids not only the entry of

judgment against a State but also the initiation of legal proceedings altogether. Seminole Tribe v.

      3
     The Eleventh Amendment provides that “[t]he Judicial power of the United States shall not
be construed to extend to any suit in law or equity, commenced or prosecuted against one of the
United States by Citizens of another State.” U.S. CONST. amend. XI.




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 Florida, 517 U.S. 44, 58 (1996). It thereby avoids “the indignity of subjecting a State to the

 coercive process of judicial tribunals at the instance of private parties.” P.R. Aqueduct & Sewer

 Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993) (quotation omitted).

         The Eleventh Amendment’s prohibition extends to actions affecting a State’s sovereign

 interest in land. See Idaho v. Coeur d’Alene Tribe, 521 U.S. 261, 287 (1997) (holding that

 sovereign immunity applies where a successful claim would affect a State’s “sovereign interest

 in its lands and waters”); see also Va. Office for Prot. & Advocacy v. Stewart, 563 U.S. 247, 257

 (2011) (noting that Coeur d’Alene Tribe “was ‘the functional equivalent of a quiet title suit

 against Idaho,’ … and thus was barred by sovereign immunity” (quoting Coeur d’Alene Tribe,

 521 U.S. at 282)). Here, an ostensible expansion of Colorado’s title to land underlying the

 Arkansas River could have far-reaching effects on the State’s sovereign obligations, including

 under tax laws and other regulations. Doing so could also trigger takings claims by private

 property owners. Additionally, declaring the Arkansas to be “navigable” could expand federal

 jurisdiction over the river, a direct infringement of Colorado’s sovereignty.

         Plaintiff’s requested relief is therefore jurisdictionally barred by the Eleventh

 Amendment. See Lewis v. Clarke, 137 S. Ct. 1285, 1290 (2017) (“If … an action is in essence

 against a State even if the State is not a named party, then the State is the real party in interest

 and is entitled to invoke the Eleventh Amendment’s protection.”). It is immaterial that the

 complaint seeks to establish the State’s title rather than extinguish the State’s title, as in Coeur

 d’Alene Tribe. The Eleventh Amendment prevents private parties from forcing a State to litigate

 its rights in federal court altogether. P.R. Aqueduct, 506 U.S. at 146. This is true regardless of




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 whether the relief requested would nominally expand or restrict the State’s rights. Id. Pursuing

 such expansion or restriction—or not—is a matter of sovereignty reserved to the State.

        B.        Sovereign immunity bars this lawsuit regardless of whether it proceeds in
                  federal or state court.

        Plaintiff cannot avoid the State’s sovereign immunity by remanding this case to state

 court. Determining whether a river was navigable-for-title at the time of a State’s founding is a

 question of federal law. United States v. Oregon, 295 U.S. 1, 14, (1935); PPL Montana, LLC v.

 Montana, 565 U.S. 576, 591 (2012) (“[A]ny ensuing questions of navigability for determining

 state riverbed title are governed by federal law.”). “[N]avigability of the stream is not a local

 question for the state tribunals to settle.” Brewer-Elliott Oil & Gas Co. v. United States, 260 U.S.

 77, 87 (1922).

        When federal courts lack jurisdiction over a federal question, state courts are also without

 jurisdiction. Alden v. Maine, 527 U.S. 706, 753 (1999) (explaining that Article III “in no way

 suggests … that state courts may be required to assume jurisdiction that could not be vested in

 the federal courts”). Congress cannot expand the jurisdiction of state courts to consider federal

 questions over which the federal courts lack jurisdiction. Id. at 752–53.

        The State of Colorado could choose to entertain river navigability claims, as some other

 States have done. But the Colorado General Assembly has not abrogated the State’s immunity

 from suit in cases seeking to affect the State’s sovereign interest in lands based on questions of

 navigability. The Colorado Governmental Immunity Act, for example, COLO. REV. STAT. §§ 24-

 10-101 et seq., which allows certain suits against the State and its officials to proceed, does not

 expand the jurisdiction of state courts to adjudicate sovereign interests like those at issue here.

 Instead, the Governmental Immunity Act circumscribes the State’s immunity specifically with


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 respect to tortious conduct by state employees. See COLO. REV. STAT. § 24-10-102 (explaining

 that the Act sets forth “circumstances under which the state … may be liable in actions which lie

 in tort or could lie in tort”). The Act was adopted after the Colorado Supreme Court abrogated

 state sovereign immunity for injury suffered by private persons. See Evans v. Bd. of Cty.

 Comm’rs, 482 P.2d 968, 969 (1971) (discussing the need to allow “recovery against

 governmental units for the negligence of their employees” (emphasis added)). Neither Evans nor

 the Colorado Governmental Immunity Act abrogated the State’s immunity from suit for actions

 affecting the State’s sovereign interests in land subject to the navigability doctrine. Sovereign

 immunity thus bars this action, even in state court.

        C.      Sovereign immunity requires dismissal because the State has not voluntarily
                waived its sovereign immunity for river navigability claims, nor has
                Congress abrogated it.

        To avoid the State’s sovereign immunity under the Eleventh Amendment, Plaintiff must

 demonstrate that the State voluntarily waived or Congress abrogated that immunity. See Ramirez

 v. Okla. Dep’t of Mental Health, 41 F.3d 584, 588 (10th Cir. 1994). Plaintiff cannot meet this

 burden.

        The State has not voluntarily waived its sovereign immunity in this case. To the contrary,

 Colorado has expressly preserved its sovereign immunity from suit by seeking dismissal. See

 Wyandotte Nation v. Kansas City, 200 F. Supp. 2d 1279, 1291 (D. Kan. 2002) (“Kansas has not

 waived its Eleventh Amendment immunity from suit by moving to intervene for the limited

 purpose of filing a motion to dismiss.”).

        Nor can Plaintiff show Congressional abrogation of Colorado’s immunity. Abrogation

 requires, among other things, unmistakably clear language in a federal statute. Dellmuth v. Muth,



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 491 U.S. 223, 228 (1989). A general authorization for suit does not suffice, Seminole Tribe, 517

 U.S. at 56, and the party seeking to invoke the federal court’s jurisdiction bears the burden of

 proof, Basso v. Utah Power & Light Co., 495 F.2d 906, 909 (10th Cir. 1974).

         The Supreme Court has already held that a claim to determine state ownership of lands

 beneath water bodies—the precise claim raised in this case—is barred by the Eleventh

 Amendment. Coeur d’Alene Tribe, 521 U.S. at 287. Although Plaintiff seeks only declaratory

 judgment and not damages, the Eleventh Amendment conclusively applies to suits seeking

 declaratory relief. Steadfast Ins. Co. v. Agric. Ins. Co., 507 F.3d 1250, 1252 (10th Cir. 2007).

 Because Plaintiff cannot show that Colorado’s immunity has been waived or abrogated by

 Congress, this case must be dismissed.

 III.    Plaintiff’s putative title claims must be dismissed because Plaintiff fails to state a
         claim for which relief can be granted.

         Finally, this case must be dismissed because the First Amended Complaint fails to state a

 claim for relief under black-letter law. In an action to quiet title to land, a plaintiff cannot simply

 attack the defendant’s title; he must assert his own title. Kanab Uranium Corp. v. Consol.

 Uranium Mines, 227 F.2d 434, 437 (10th Cir. 1955) (“The right as general citizens which

 appellants assert to go upon premises occupied by another under color of title, even though

 defective, is not right of title entitling them to maintain this action.”). This is true as a matter of

 both federal and Colorado law. Id. at 436 (“[I]t is the law without exception that in all actions to

 recover possession of land or an interest therein one must prevail upon the strength of his own

 title and not on the weakness of his adversary’s title.”); Goodrich v. Union Oil Co. of California,

 274 P. 935, 938 (Colo. 1928) (“[P]laintiffs must rely on the strength of their own title, and not on

 the weakness or supposed weakness of their adversaries’.”). If a plaintiff cannot establish his


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 own title, he cannot force defendants to adjudicate the status of their own. Webermeier v. Pace,

 552 P.2d 1021 (Colo. App. 1976), aff’d, 563 P.2d 950 (1977); see also Fastenau v. Engel, 270

 P.2d 1019, 1021 (Colo. 1954) (“[I]f the plaintiff has no title he cannot complain that someone

 else, also without title, asserts an interest in the land.”).

         Plaintiff asserts no independent title of his own in the bed of the Arkansas River. E.g.,

 First Am. Compl. ¶¶ 1, 13, 50, 61, 63, 69, 73 (repeatedly admitting that Plaintiff is attempting to

 assert the State’s “exclusive” property rights). Plaintiff, however, can neither assert title on

 behalf of the State nor force Defendants Warsewa and Joseph to defend their own title. This case

 must therefore be dismissed under Rule 12(b)(6).

                                                 CONCLUSION

         The First Amended Complaint must be dismissed under Rules 12(b)(1) and 12(b)(6).

                                                  CYNTHIA H. COFFMAN
                                                  Attorney General
                                                  /s/Frederick R. Yarger
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                                     CERTIFICATE OF SERVICE

        I certify that on August 7, 2018, I electronically filed this Motion to Dismiss with the

 Clerk of the Court using the CM/ECF system, which will send notification of the filing to the

 following:

               Alexander Neville Hood
               TOWARDS JUSTICE—DENVER
               Counsel for Plaintiff Roger Hill

               Kirk Holleyman
               KIRK HOLLEYMAN, PC
               Counsel for Defendants Warsewa and Joseph

                                                              /s/ Amy Holston




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